                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 SANDRA LITTLE COVINGTON, et                )
 al.,                                       )
                                            )
                        Plaintiffs,         )
                                            )
               v.                           )                  1:15-Cv-399
                                            )
 STATE OF NORTH CAROLINA, et                )
 al.,                                       )
                                            )
                        Defendants.         )

                                          ORDER

       This matter is before the Court on the Legislative Defendants’ motion to expedite

ruling on the plaintiffs’ objections to the 2017 House and Senate redistricting plans.

Doc. 225. The Legislative Defendants ask for a hearing on December 22 and seek to

impose their own expedited schedule on the Court, the Special Master, and other parties

at virtually the last moment. The motion is DENIED.

       The Court anticipates that the January 5 hearing will begin with a short

presentation by the Special Master as to his recommendations. Thereafter, each side will

have one hour to present oral argument in support of their position. The Court will then

hear from the Special Master again, to the extent those arguments raise matters not

previously addressed.

       If either side wishes to call witnesses or proffer other evidence during its

presentation, the party shall, no later than December 15, 2017, file a motion seeking

permission to present evidence, which motion shall identify the witnesses and/or




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evidence and explain the need for such evidence. If such a motion is filed, responses are

due December 20, 2017, and replies are due December 22, 2017.

      This the 12th day of December, 2017.




                                         __________________________________
                                          UNITED STATES DISTRICT JUDGE




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